










Opinion issued June 2, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00013–CV




DEBORACH FEUERBACHER, Appellant

V.

AMERICAN BUREAU OF SHIPPING, GENE XIE, AND RYU
NAGAYAMA, Appellees




On Appeal from the164th District Court
Harris County, Texas
Trial Court Cause No. 2004-49476




MEMORANDUM OPINIONAppellant has failed to timely file a brief.  See Tex. R. App. P. 38.8(a) (failure
of appellant to file brief).  After being notified that this appeal was subject to
dismissal, appellant did not adequately respond.  See Tex. R. App. P. 42.3(b)
(allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Nuchia, and Higley.


